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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                    No.    21-cr-278 (BAH)
ROBERT SCHORNAK                           )
                                          )
            Defendant.                    )
__________________________________________)



                EMERGENCY MOTION TO EXTEND DEADLINE FOR SELF-
                                SURRENDER

       Robert Schornak, by and through his attorney, respectfully requests that this

Court grant his Motion to Extend his Deadline for Self-Surrender.

       On April 4, 2023, the United States Probation Office informed Mr. Schornak that he is

 required to surrender himself to a local jail on April 7, 2023.

       This Court sentenced Mr. Schornak to 36 months of probation with the special

 condition of intermittent confinement, that is a sentence of incarceration for “twenty-eight

 days of intermittent confinement.” The sentence is to be served in “two periods of fourteen

 days each within the defendant’s first year of probation, at a facility designated by the Bureau

 of Prisons.” ECF No. 71 at 5.

       The Court sentenced Mr. Schornak in this manner so that his employment would not be

 jeopardized. Moreover, he was granted the opportunity to self-surrender in order for him to

 get his affairs in order prior to his sentence of incarceration, particularly since he has a very

 young child.

       The requirement that Mr. Schornak report within 72 hours undermines the Court’s

 intention and substantially disrupts Mr. Schornak’s family situation beyond just punishment.
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 Since his sentencing date, Mr. Schornak has repeatedly requested the ability to serve his

 intermittent confinement but those requests have repeatedly been rejected. He has, in the

 meantime, completed 2 months of home detention and has not violated his conditions of

 probation.

        Now with very little advance warning, Mr. Schornak is required to leave his work and

 family for two weeks. Mr. Schornak’s family is not financially prepared for two weeks

 without his income and Mr. Schornak is concerned about the status of his employment given

 the lack of notice that he would provide. As a result, Mr. Schornak requests that he be

 permitted to extend his self-surrender date for thirty days so that his family may be better

 prepared for his incarceration.

        The government does not oppose this Motion.


                                             Conclusion

        Mr. Schornak thus requests that he be permitted to self-surrender date on a date at least

thirty days in the future.




                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                      /s/
                                              ____________________________
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